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               Exhibit 1
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KLEHR, HARRISON,
HARVEY, BRANZBURG LLP
By: Douglas F. Schleicher and Paige M. Willan
PA. Id. Nos. 44078 and 313117
1835 Market Street
Philadelphia, PA 19103
 (215) 569-2700
Attorneys for Defendant

                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA

AC2T, INC. d/b/a SPARTAN MOSQUITO,                    :
                                                      :
                         Plaintiff,                   :
                                                      :
                                                      :
                   v.                                 :     Civil Action
                                                      :     Case No. 2:19-cv-05946-RBS
                                                      :
COLIN PURRINGTON,                                     :
                                                      :
                         Defendant.                   :
                                                      :

                 DEFENDANT’S FIRST SET OF INTERROGATORIES
           DIRECTED TO PLAINTIFF AC2T, INC. D/B/A SPARTAN MOSQUITO

          Defendant Colin Purrington hereby demands, pursuant to Rule 33 of the Federal Rules of

Civil Procedure, that Plaintiff AC2T, Inc. d/b/a Spartan Mosquito serve verified responses to the

below interrogatories upon counsel for Defendant, Klehr Harrison Harvey Branzburg LLP, 1835

Market Street, Suite 1400, Philadelphia, PA 19103, within thirty (30) days of the date of service

hereof.

                                         DEFINITIONS

          1.       You. The term “you” or “your” shall mean Plaintiff, and anyone acting, or

purporting to act, on its behalf.

          2.       Spartan Mosquito. The term “Spartan Mosquito” shall mean AC2T, Inc. d/b/a

Spartan Mosquito, and anyone acting, or purporting to act on its behalf.



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        3.         Purrington. The term “Purrington” shall mean Defendant Colin Purrington.

        4.         Complaint. The term “Complaint” shall mean the Complaint filed by Plaintiff

AC2T, Inc. d/b/a Spartan Mosquito on December 16, 2019 in this action.

        5.         Product. The term “Product” shall mean the Spartan Mosquito Eradicator,

described in paragraph 9 of the Complaint.

        6.         Other Products. The term “Other Products” shall mean any of Spartan Mosquito’s

products designed to kill and/or deter mosquitoes, including, but not limited to, the Spartan

Mosquito Bomb, the Spartan Mosquito Pro Tech, the Spartan Mosquito Eradicator Pro Tech, the

Sock-It Skeeter, and any other similar product.

        7.         Litigation. The term “Litigation” shall mean the above-captioned action.

        8.         State Regulatory Agency. The term “State Regulatory Agency” shall mean any

state governmental agency, including agencies in U.S. territories and the District of Columbia,

with the authority to regulate pesticides or any products similar in nature to the Product or the

Other Products.

        9.         EPA. The term “EPA” shall mean the United States Environmental Protection

Agency.

        10.        Person. The term “Person” shall mean both the plural and the singular of any natural

individual or any corporation, firm, partnership, proprietorship, association, joint venture,

governmental entity or any business organization, or any other entity.

        11.        Document. The term “document” shall include any written, recorded, or graphic

matter, including writings, drawings, graphs, charts, photographs, sound recordings, and other

data, and includes electronically stored information in any medium, including emails, text

messages, instant messages, and similarly stored information that can be obtained either directly


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or, if necessary, after translation by the responding party into a reasonably usable form.

        12.        Communication. The term “communication” shall mean the transmittal of

information (in the form of facts, ideas, inquiries or otherwise), including, but not limited to,

through conversation (whether face-to-face, by email, electronic chat, telephone, text message, or

otherwise), correspondence, electronic mail, and memoranda.

        13.        Concerning. The term “concerning” shall mean relating to, referring to, reflecting,

describing, evidencing or constituting.

        14.        Interrogatories. The term “Interrogatories” shall mean these Interrogatories.


                                            INSTRUCTIONS

        1.         Rules of Construction.


                   a.     All/Any/Each. The terms “all,” “any,” and “each” shall each be construed
                          as encompassing any and all.

                   b.     And/Or. The connectives “and” and “or” shall be construed either
                          disjunctively or conjunctively as necessary to bring within the scope of the
                          interrogatory all information that might otherwise be construed to be outside
                          of its scope.

                   c.     Number. The use of the singular form of any word includes the plural and
                          vice versa.

                   d.     Gender. The use of the feminine includes the masculine, and vice versa.

        2.         Relevant Time Period. Unless otherwise specified, the Interrogatories call for

information created, originated, modified, altered, edited, revised, utilized, or in force from

January 1, 2019 to the present.

        3.         Privilege. If a privilege is claimed with respect to any information responsive to

these Interrogatories, you shall identify the following information for each such document:


                   a.     the nature of the privilege being claimed and, if the privilege is governed by
                          foreign law, or by state law, indicate the foreign jurisdiction’s or state’s
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                          privilege rule being invoked;

                   b.     the type of document, e.g., letter or memorandum;

                   c.     the general subject matter of the document;

                   d.     the date of the document;

                   e.     the author of the document;

                   f.     the addressees of the document and any other recipients as reflected in the
                          document; and

                   g.     when not apparent, the relationship of the author, addressees and recipients
                          to each other.

        4.         Identify (with respect to Documents). When referring to documents, to “Identify”

means to provide the following information:


                   a.     The type of document;

                   b.     The general subject matter of the document

                   c.     The date of the document;

                   d.     The author(s), according to the document; and

                   e.     The person(s) to whom, according to the document, the document, or a
                          copy, was sent.

        5.         Identify (with respect to Persons). When referring to natural persons, to “Identify”

means to provide the following information:


                   a.     The person’s full name;

                   b.     The present or last known address and telephone number;

                   c.     The present or last known place of employment;

                   d.     The present or last known job title; and

                   e.     The relationship, if any, to the Claimants and/or Respondent.

Once a Person has been identified in accordance with this paragraph, only the name of that

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person need be listed in subsequent discovery requesting identification of that Person.

        6.         Continuing Request. These Interrogatories are continuing in nature, pursuant to

Federal Rule of Civil Procedure 26(e). You are requested to provide supplemental responses,

together with any additional documents, if any additional responsive information comes to be

within your custody, possession, or control.

                                         INTERROGATORIES

        1.         Identify all Persons employed by Spartan Mosquito, either as direct employees or

independent contractors, who have knowledge of Purrington’s comments and postings.

        2.         Identify all Persons who have knowledge of experiments concerning the Product’s

efficacy.

        3.         Identify all Persons who have knowledge of experiments concerning the Other

Products’ efficacy.

        4.         Identify all Persons who have knowledge of Spartan Mosquito’s alleged damages

in the Litigation.

        5.         Describe any damages Spartan Mosquito is seeking in this Litigation by listing the

category of damages, the amount, and the basis for seeking those damages.

        6.         Identify all Persons who have knowledge of the matters alleged in the Complaint.

        7.         Describe any lawsuits concerning the Product in the last five (5) years by listing the

court in which the lawsuit was filed, the docket number of the lawsuit, the caption of the lawsuit,

and the current status of the lawsuit.

        8.         Describe any lawsuits concerning Spartan Mosquito in the last five (5) years by

listing the court in which the lawsuit was filed, the docket number of the lawsuit, the caption of

the lawsuit, and the current status of the lawsuit.


                                                     5

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        9.         Identify all Persons who have knowledge of any lawsuits concerning the Product

in the last five (5) years.

        10.        List all states that have refused to permit the sale of the Product and list each state’s

given reason(s) for refusing to permit the sale of the Product.

        11.        Identify all Persons at the EPA and any State Regulatory Agency who have

knowledge of any health claims in the Product’s marketing materials.


Dated: June 5, 2020

                                              KLEHR HARRISON HARVEY BRANZBURG LLP

                                      By:     /s/ Paige M. Willan
                                              Douglas F. Schleicher (I.D. No. 44078)
                                              Paige M. Willan (I.D. No. 313117)
                                              1835 Market Street
                                              Philadelphia, PA 19103
                                              (215) 569-2700
                                              dschleicher@klehr.com
                                              pwillan@klehr.com

                                              Attorneys for Defendant




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                                CERTIFICATE OF SERVICE

        I, Paige M. Willan, hereby certify that, on June 5, 2020, I caused a true and correct copy

of the foregoing Defendant’s First Set of Interrogatories directed to Plaintiff AC2T, Inc. d/b/a

Spartan Mosquito to be served on the below-listed counsel for Plaintiff via electronic mail:

                              Evan L. Frank, Esq.
                              Alan L. Frank Law Associates, P.C.
                              135 Old York Road
                              Jenkintown, PA 19406
                              efrank@alflaw.net

                              Attorneys for Plaintiff
                              AC2T, Inc. d/b/a Spartan Mosquito




                                                    /s/ Paige M. Willan
                                                                     Paige Willan




                                                7

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               Exhibit 2
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KLEHR, HARRISON,
HARVEY, BRANZBURG LLP
By: Douglas F. Schleicher and Paige M. Willan
PA. Id. Nos. 44078 and 313117
1835 Market Street
Philadelphia, PA 19103
 (215) 569-2700
Attorneys for Defendant

                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA

AC2T, INC. d/b/a SPARTAN MOSQUITO,                    :
                                                      :
                         Plaintiff,                   :
                                                      :
                                                      :
                   v.                                 :     Civil Action
                                                      :     Case No. 2:19-cv-05946-RBS
                                                      :
COLIN PURRINGTON,                                     :
                                                      :
                         Defendant.                   :
                                                      :

                DEFENDANT’S FIRST SET OF DOCUMENT REQUESTS
           DIRECTED TO PLAINTIFF AC2T, INC. D/B/A SPARTAN MOSQUITO

          Defendant Colin Purrington hereby demands, pursuant to Rule 34 of the Federal Rules of

Civil Procedure, that Plaintiff AC2T, Inc. d/b/a Spartan Mosquito serve responses to the below

document requests upon counsel for Defendant, Klehr Harrison Harvey Branzburg LLP, 1835

Market Street, Suite 1400, Philadelphia, PA 19103, within thirty (30) days of the date of service

hereof.

                                         DEFINITIONS

          1.       You. The term “you” or “your” shall mean Plaintiff, and anyone acting, or

purporting to act, on its behalf.

          2.       Spartan Mosquito. The term “Spartan Mosquito” shall mean AC2T, Inc. d/b/a

Spartan Mosquito, and anyone acting, or purporting to act on its behalf.



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        3.         Purrington. The term “Purrington” shall mean Defendant Colin Purrington.

        4.         Complaint. The term “Complaint” shall mean the Complaint filed by Plaintiff

AC2T, Inc. d/b/a Spartan Mosquito on December 16, 2019 in this action.

        5.         Product. The term “Product” shall mean the Spartan Mosquito Eradicator,

described in paragraph 9 of the Complaint.

        6.         Other Products. The term “Other Products” shall mean any of Spartan Mosquito’s

products designed to kill and/or deter mosquitoes, including, but not limited to, the Spartan

Mosquito Bomb, the Spartan Mosquito Pro Tech, the Spartan Mosquito Eradicator Pro Tech, the

Sock-It Skeeter, and any other similar product.

        7.         Marketing Materials. The term “marketing materials” shall mean all marketing,

advertising, and promotional materials developed by or for Spartan Mosquito to promote the sale

of the Product, including television, radio, and online advertising, point-of-sale materials, package

advertising, print media, including catalogs, newsletters, product sheets and brochures,

presentation folders, specification sheets, case histories or application sheets, special event

brochures, annual reports, manuals, technical bulletins, posters, product insert sheets, and labeling,

and any other similar materials.

        8.         Data. The term “data” shall mean all types of raw data, articles, papers, charts,

records, reports, studies, research, memoranda, computation sheets, questionnaires, surveys, and

any other similar documentation.

        9.         Operation.   The term “operation” shall mean the process and/or manner of

functioning.

        10.        Litigation. The term “Litigation” shall mean the above-captioned action.

        11.        State Regulatory Agency. The term “State Regulatory Agency” shall mean any U.S.


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state governmental agency, including agencies in U.S. territories and the District of Columbia,

with the authority to regulate pesticides or any products similar in nature to the Product or the

Other Products.

        12.        EPA. The term “EPA” shall mean the United States Environmental Protection

Agency.

        13.        FTC. The term “FTC” shall mean the United States Federal Trade Commission.

        14.        Amazon. The term “Amazon” shall mean Amazon.com, Inc. and anyone acting on

its behalf.

        15.        Person. The term “Person” shall mean both the plural and the singular of any natural

individual or any corporation, firm, partnership, proprietorship, association, joint venture,

governmental entity or any business organization, or any other entity.

        16.        Document. The term “document” shall include any written, recorded, or graphic

matter, including writings, drawings, graphs, charts, photographs, sound recordings, and other

data, and includes electronically stored information in any medium, including emails, text

messages, instant messages, and similarly stored information that can be obtained either directly

or, if necessary, after translation by the responding party into a reasonably usable form.

        17.        Communication. The term “communication” shall mean the transmittal of

information (in the form of facts, ideas, inquiries or otherwise), including, but not limited to,

through conversation (whether face-to-face, by email, electronic chat, telephone, text message, or

otherwise), correspondence, electronic mail, and memoranda.

        18.        Concerning. The term “concerning” shall mean relating to, referring to, reflecting,

describing, evidencing or constituting.

        19.        Requests. The term “Requests” shall mean these document requests.


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                                            INSTRUCTIONS

        1.         Rules of Construction.


                   a.     All/Any/Each. The terms “all,” “any,” and “each” shall each be construed
                          as encompassing any and all.

                   b.     And/Or. The connectives “and” and “or” shall be construed either
                          disjunctively or conjunctively as necessary to bring within the scope of the
                          discovery request all responses that might otherwise be construed to be
                          outside of its scope.

                   c.     Number. The use of the singular form of any word includes the plural and
                          vice versa.

                   d.     Gender. The use of the feminine includes the masculine, and vice versa.

        2.         Relevant Time Period. Unless otherwise specified, the Requests call for documents

created, originated, modified, altered, edited, revised, utilized, or in force from January 1, 2019 to

the present.

        3.         Privilege. If a privilege is claimed with respect to any document responsive to these

Requests, you shall identify the following information for any document withheld:


                   a.     the nature of the privilege being claimed and, if the privilege is governed by
                          foreign law, or by state law, indicate the foreign jurisdiction’s or state’s
                          privilege rule being invoked;

                   b.     the type of document, e.g., letter or memorandum;

                   c.     the general subject matter of the document;

                   d.     the date of the document;

                   e.     the author of the document;

                   f.     the addressees of the document and any other recipients as reflected in the
                          document; and

                   g.     when not apparent, the relationship of the author, addressees and recipients
                          to each other.


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        4.         Destruction of Documents. If any document within the scope of these Requests has

been destroyed, that document shall be identified by listing its author(s), intended or unintended

recipient(s), addressee(s), intended or unintended recipients of blind copies, date, and subject

matter, and the date and circumstances of its destruction. Any documents relating to such

destruction shall be produced.

        5.         Transferred Documents. If any requested document was, but no longer is, in your

possession or under your control, state precisely what disposition was made of it, the date on which

such disposition was made, and the identity of the person who ordered or authorized such a

disposition.

        6.         Scope of the Requests. These Requests call for the production of documents in

your possession, custody, or control, wherever in the world such documents may be located. In

addition to original and final versions of documents, all drafts, alterations, modifications, changes

and amendments of documents should be produced, as well as all copies non-identical to the

original in any respect, including any copy bearing marginalia, non-identical markings, or

notations of any kind.

        7.         Continuing Request. These Requests are continuing in nature, pursuant to Federal

Rule of Civil Procedure 26(e). You are requested to provide supplemental responses, together

with any additional documents, if any additional responsive documents come to be, or are found

to be, within your custody, possession or control.


                                      DOCUMENT REQUESTS

        1.         All non-privileged documents and correspondence concerning Purrington.

        2.         All documents concerning experimental tests concerning the Product.

        3.         All data obtained from experimental tests concerning the Product.

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        4.         A copy of all non-disclosure or confidentiality agreements entered into between

Spartan Mosquito and any person conducting experiments on the Product.

        5.         All documents concerning the operation of the Product.

        6.         A copy of any marketing materials concerning the Product.

        7.         All correspondence between Spartan Mosquito employees concerning the operation

of the Product.

        8.         All correspondence between Spartan Mosquito and any State Regulatory Agency,

including but not limited to the Mississippi Department of Health and the Mississippi Attorney

General’s Office, concerning the operation or regulatory compliance of the Product.

        9.         All correspondence between Spartan Mosquito and the EPA concerning the

regulatory compliance of the Product.

        10.        All correspondence between Spartan Mosquito and the FTC concerning the

regulatory compliance of the Product.

        11.        All prior versions of Spartan Mosquito’s website.

        12.        All correspondence between Spartan Mosquito and any supplier or distributer

concerning the operation of the Product.

        13.        A copy of any marketing materials sent to any supplier or distributor concerning

the Product.

        14.        All case study documents concerning the Product produced by Think Webstore.

        15.        All correspondence between Spartan Mosquito and Think Webstore concerning the

Product’s marketing materials.

        16.        All correspondence between Spartan Mosquito and Wendy Varnado concerning the

Product or the Other Products.


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        17.        All documents concerning the creation and organization of the InMoCo

Corporation.

        18.        All correspondence between Spartan Mosquito and the InMoCo Corporation

concerning the use of the Product in Africa.

        19.        All documents and data concerning the use of the Product in Africa.

        20.        All documents concerning the creation and organization of the West Nile

Education, Eradication, Prevention, and Recovery Organization.

        21.        All correspondence between Spartan Mosquito and the West Nile Education,

Eradication, Prevention, and Recovery Organization concerning the Product.

        22.        All correspondence between Spartan Mosquito and any retailer concerning the

operation of the Product.

        23.        A copy of any marketing materials sent to any retailer concerning the Product.

        24.        All correspondence between Spartan Mosquito and Amazon concerning the

operation of the Product and/or the regulatory compliance of the Product.

        25.        All correspondence between Spartan Mosquito and any Product reviewers who

have received complimentary Products from Spartan Mosquito.

        26.        All press releases concerning the Product.

        27.        All deleted Facebook reviews and comments concerning the Product.

        28.        All communications with customers who were unsatisfied with the Product and

whose Facebook reviews and comments were deleted by Spartan, including but not limited to any

text messages or Facebook messages sent to any such customers.

        29.        A copy of the “approximately 150”. . . “defamatory statements” made by Purrington

referenced in paragraph 12 of the Complaint.


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        30.        All photographs and videos of mosquitoes entering the holes in the Product,

including all unedited versions of such photographs and videos.

        31.        All documents concerning any lost sales of the Product or the Other Products that

Spartan Mosquito contends are related to any statements made by Purrington.

        32.        All documents concerning any damages sought in the Litigation.

        33.        The resume or curriculum vitae of any expert witness Spartan Mosquito intends to

call at any hearing, arbitration, or trial of this Litigation.

        34.        All documents Spartan Mosquito has provided to any expert witness who Spartan

Mosquito intends to call at any hearing, arbitration, or trial of this Litigation.

        35.        All documents Spartan Mosquito intends to use at any hearing, arbitration, or trial

of this Litigation.


Dated: June 5, 2020

                                            KLEHR HARRISON HARVEY BRANZBURG LLP

                                     By:    /s/ Paige M. Willan
                                            Douglas F. Schleicher (I.D. No. 44078)
                                            Paige M. Willan (I.D. No. 313117)
                                            1835 Market Street
                                            Philadelphia, PA 19103
                                            (215) 569-2700
                                            dschleicher@klehr.com
                                            pwillan@klehr.com

                                            Attorneys for Defendant




                                                     8

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       Case 2:19-cv-05946-RBS Document 17-2 Filed 11/25/20 Page 18 of 47




                                CERTIFICATE OF SERVICE

        I, Paige M. Willan, hereby certify that, on June 5, 2020, I caused a true and correct copy

of the foregoing Defendant’s First Set of Document Requests directed to Plaintiff AC2T, Inc. d/b/a

Spartan Mosquito to be served on the below-listed counsel for Plaintiff via electronic mail:

                              Evan L. Frank, Esq.
                              Alan L. Frank Law Associates, P.C.
                              135 Old York Road
                              Jenkintown, PA 19406
                              efrank@alflaw.net

                              Attorneys for Plaintiff
                              AC2T, Inc. d/b/a Spartan Mosquito




                                                    /s/ Paige M. Willan
                                                                     Paige Willan




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                Exhibit 3
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Evan L. Frank, Esq.
Alan L. Frank Law Associates, P.C.
PA Bar No. 311994
135 Old York Road
Jenkintown, PA 19046
215-935-1000
215-935-1110 (fax)
efrank@alflaw.net
Counsel for Plaintiff
                        UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
AC2T, Inc., d/b/a Spartan Mosquito,  :
                                     :   Civil Action
             Plaintiff,              :   Case No. 2:19-cv-05946-RBS
                                     :
             v.                      :
                                     :
Colin Purrington,                    :
                                     :
             Defendant.              :
____________________________________:

  PLAINTIFF’S RESPONSE TO DEFENDANT’S FIRST DOCUMENT REQUESTS

      1.      All non-privileged documents and correspondence concerning

Purrington.

      Response: The Plaintiff is producing documents responsive to this request.

      2.      All documents concerning experimental tests concerning the Product.

      Response: The Plaintiff is producing documents responsive to this request.

      3.      All data obtained from experimental tests concerning the Product.

      Response: The Plaintiff is producing documents responsive to this request.
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       4.     A copy of all non-disclosure or confidentiality agreements entered into

between Spartan Mosquito and any person conducting experiments on the Product.

       Response: The Plaintiff objects to request 4. The requested documents are not

relevant to any fact at issue in this case. The existence of non-disclosure or

confidentiality agreements is itself not a fact at issue in this case. Such agreements do

not make the Defendant’s defamatory statements more true or false; they do not make

the product work better or worse, they do not make the Defendant’s claims that the

product spreads diseases any truer, and so on. The requested information has nothing

to do with the Defendant’s claims that the Plaintiff deceives customers, that the product

spreads diseases, that the product does not work, or any of the other defamatory

allegations at issue in this case. The request is specifically targeted at confidential

information since it literally defines the requested materials by their confidential status.

The request is asking for documents not because of any relevance to this case, but solely

based on the fact that at one time or another the Plaintiff or another party asked for

confidentiality.

       5.     All documents concerning the operation of the Product.

       Response: The Plaintiff objects that this request is too broad, but is willing to

produce a sub-category of the documents requested. The Plaintiff estimates that this

request as worded would cover hundreds of thousands of pages, and moreover it

would not be feasible to identify each one. The Plaintiff will produce documentation



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concerning testing of the product and efficacy data, and would consider more particular

requests.

       6.     A copy of any marketing materials concerning the Product.

       Response: The Plaintiff is producing documents responsive to this request.

       7.     All correspondence between Spartan Mosquito employees concerning the

operation of the Product.

       Response: The Plaintiff objects because it would not be possible to compile the

documents requested. The Plaintiff estimates that this request would cover hundreds of

thousands of pages, and there is no feasible way to locate each one. However, the

Plaintiff would be willing to consider a more particular request that is narrower and

more defined than request 7.

       8.     All correspondence between Spartan Mosquito and any State Regulatory

Agency, including but not limited to the Mississippi Department of Health and the

Mississippi Attorney General’s Office, concerning the operation or regulatory

compliance of the Product.

       Response: The Plaintiff objects that this request covers so much documentation

that it is not feasible for the Plaintiff to comply. Each state has its own regulatory

agency; each submission often requires a back-and-forth dialogue; and the submissions

are often repeated annually. This would yield tens of thousands of pages which would

be difficult to locate and compile. Moreover, some states do not require correspondence



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as such, but rather data entry into online forms, which are not saved in a form that can

be produced. However, the Plaintiff would be willing to consider a more targeted

request. By way of further response, the Plaintiff is not aware of any correspondence

with the Mississippi Department of Health or Mississippi Attorney General’s Office,

concerning the operation or regulatory compliance of the Product.

       9.     All correspondence between Spartan Mosquito and the EPA concerning

the regulatory compliance of the Product.

       Response: The Plaintiff is currently searching for whether there are any

responsive documents related to regulatory compliance of the Product. However, by

way of further answer, 25(b) products such as the Product are not registered with the

EPA.

       10.    All correspondence between Spartan Mosquito and the FTC concerning

the regulatory compliance of the Product.

       Response: None to the Plaintiff’s knowledge.

       11.    All prior versions of Spartan Mosquito’s website.

       Response: The Plaintiff objects because it may not be possible to comply with

this request as prior versions of the website are not necessarily saved, particular when

minor changes are made. However, the Plaintiff is willing to produce any such versions

of the website that it is able to recover.




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      12.    All correspondence between Spartan Mosquito and any supplier or

distributer concerning the operation of the Product.

      Response: The Plaintiff objects because this request would cover hundreds of

thousands of pages which would be impossible to locate and compile. However, the

Plaintiff would be willing to consider a narrower request within this category.

      13.    A copy of any marketing materials sent to any supplier or distributor

concerning the Product.

      Response: The Plaintiff is producing documents responsive to this request.

      14.    All case study documents concerning the Product produced by Think

Webstore.

      Response: The Plaintiff is producing documents responsive to this request.

      15.    All correspondence between Spartan Mosquito and Think Webstore

concerning the Product’s marketing materials.

      Response: The Plaintiff objects that this request is too broad and needs to be

narrowed. The Plaintiff estimates that this request would cover over a million pages,

and it would not be feasible to identify and gather each one.

      16.    All correspondence between Spartan Mosquito and Wendy Varnado

concerning the Product or the Other Products.




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      Response: The Plaintiff objects to the part of this request concerning other

products as not relevant. However, the Plaintiff will produce any such correspondence

concerning the Product.

      17.      All documents concerning the creation and organization of the InMoCo

Corporation.

      Response: The Plaintiff objects to this request. The request is not relevant

because by its own terms it is asking for corporate documents from a corporation that is

not a party to this case or even mentioned in the pleadings.

      18.      All correspondence between Spartan Mosquito and the InMoCo

Corporation concerning the use of the Product in Africa.

      Response: None to the Plaintiff’s knowledge – the Product is not used in Africa.

      19.      All documents and data concerning the use of the Product in Africa.

      Response: None to the Plaintiff’s knowledge – the Product is not used in Africa.

      20.      All documents concerning the creation and organization of the West Nile

Education, Eradication, Prevention, and Recovery Organization.

      Response: The Plaintiff objects to this request. The request is not relevant

because by its own terms it is asking for organization documents from an entity that is

not a party to this case or mentioned in the pleadings.

      21.      All correspondence between Spartan Mosquito and the West Nile

Education, Eradication, Prevention, and Recovery Organization concerning the Product.



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       Response: The Plaintiff will produce documents responsive to this request, if

any.

       22.    All correspondence between Spartan Mosquito and any retailer

concerning the operation of the Product.

       Response: The Plaintiff is willing to produce any documents responsive to this

request that it is aware of. However, the Plaintiff generally does not sell directly to

retailers.

       23.    A copy of any marketing materials sent to any retailer concerning the

Product.

       Response: The Plaintiff is willing to produce any documents responsive to this

request that it is aware of. However, the Plaintiff generally does not sell directly to

retailers.

       24.    All correspondence between Spartan Mosquito and Amazon concerning

the operation of the Product and/or the regulatory compliance of the Product.

       Response: None. The Plaintiff itself does not sell on Amazon, although some of

its distributors do.

       25.    All correspondence between Spartan Mosquito and any Product reviewers

who have received complimentary Products from Spartan Mosquito.

       Response: This request as worded would cover a large amount of philanthropic

efforts in which the Plaintiff has donated Product, of which many have led to reviews.



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The Plaintiff objects because this request would cover hundreds of thousands of pages

which are difficult to compile, and moreover it would include customers’ private

information. However, the Plaintiff would consider a more targeted request within this

category. By way of further answer, the Defendant’s comments on Amazon make up a

large percentage of the total negative comments about the Product.

       26.    All press releases concerning the Product.

       Response: The Plaintiff is producing documents responsive to this request.

       27.    All deleted Facebook reviews and comments concerning the Product.

       Response: There are no Facebook reviews that Spartan has deleted – Facebook

does not even allow businesses to delete reviews. The Plaintiff’s understanding is that

Facebook does not have the capability to retrieve deleted comments.

       28.    All communications with customers who were unsatisfied with the

Product and whose Facebook reviews and comments were deleted by Spartan,

including but not limited to any text messages or Facebook messages sent to any such

customers.

       Response: The Plaintiff objects because this request is too burdensome – the

Plaintiff has sold over 1.6 million boxes this year, so even a tiny percentage of product

defects or installation errors would yield a large amount of correspondence with

customers. Moreover, this request is not limited to a single year. The Plaintiff also

objects because this request would include customers’ private information. When the



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Plaintiff opens a troubleshooting dialogue with a customer or vice versa, the Plaintiff

makes the communications private as the troubleshooting often involves personal

identifying information such as home address. Many deleted posts on social media are

deleted because they are spam, contain obscenities, and so on. Moreover, the Plaintiff’s

understanding is that Facebook cannot recover deleted messages.

       29.    A copy of the “approximately 150”. . . “defamatory statements” made by

Purrington referenced in paragraph 12 of the Complaint.

       Response: The Plaintiff is producing documents responsive to this request.

       30.    All photographs and videos of mosquitoes entering the holes in the

Product, including all unedited versions of such photographs and videos.

       Response: The Plaintiff is producing documents responsive to this request.

       31.    All documents concerning any lost sales of the Product or the Other

Products that Spartan Mosquito contends are related to any statements made by

Purrington.

       Response: The Plaintiff is producing documents responsive to this request.

       32.    All documents concerning any damages sought in the Litigation.

       Response: The Plaintiff is producing documents responsive to this request.

       33.    The resume or curriculum vitae of any expert witness Spartan Mosquito

intends to call at any hearing, arbitration, or trial of this Litigation.




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       Response: The Plaintiff will produce the documents requested if the Plaintiff

chooses to offer expert testimony at trial.

       34.     All documents Spartan Mosquito has provided to any expert witness who

Spartan Mosquito intends to call at any hearing, arbitration, or trial of this Litigation.

       Response: The Plaintiff objects in part because the request in paragraph 34 is

broader than the discovery allowed by Rule 26(a)(2) and 26(b)(4). The Defendant may

obtain documents provided to the expert only if those documents are relied on by the

expert in forming opinions to be expressed at trial. The Plaintiff will produce any such

documents if it chooses to have an expert testify at trial. However, other documents

provided to the expert are explicitly protected under Rule 26.

       35.     All documents Spartan Mosquito intends to use at any hearing,

arbitration, or trial of this Litigation.

       Response: The Plaintiff is producing documents responsive to this request.

                                                   Respectfully submitted,



                                                   _/s/ Evan L. Frank_______________
                                                   Evan L. Frank, Esq.
                                                   Alan L. Frank Law Associates, P.C.
                                                   PA Bar No. 311994
                                                   135 Old York Road
                                                   Jenkintown, PA 19046
                                                   215-935-1000
                                                   215-935-1110 (fax)
                                                   efrank@alflaw.net
                                                   Counsel for Plaintiff
August 12, 2020


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                Exhibit 4
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       Paige M. Willan
       Direct Dial: (215) 569-4283
       Email: pwillan@klehr.com




                                                          August 26, 2020

       VIA ELECTRONIC MAIL
       Evan L. Frank
       Alan L. Frank Law Associates, P.C.
       135 Old York Road
       Jenkintown, PA 19046
       efrank@alflaw.net

                 Re:       AC2T, Inc. v. Purrington, No. 19-CV-05946 (E.D.Pa.)

       Dear Evan:

              As you know, we represent defendant Colin Purrington in the above-referenced
       matter. I write concerning Plaintiff’s Response to Defendant’s First Document Requests,
       which was served on August 12, 2020 (the “Responses and Objections”).

             As an initial matter, we still have not received Plaintiff’s responses to
       Mr. Purrington’s interrogatories, which were served on June 5, 2020, nor any of the
       documents that Spartan agreed to produce in the Responses and Objections. Please let
       us know when we can expect to receive those materials.

             With respect to the Responses and Objections, Purrington disagrees with a
       number of the objections that AC2T, Inc. (“Spartan” or “Plaintiff”) has made to certain of
       Mr. Purrington’s document requests.

              First, Spartan has refused to produce documents responsive to Request No. 4,
       which seeks “A copy of all non-disclosure or confidentiality agreements entered into
       between Spartan Mosquito and any person conducting experiments on the Product.”
       Spartan’s stated grounds for its refusal to produce such documents are that the existence
       of such documents “is not a fact at issue in this case” and that the request is “specifically
       targeted at confidential information, since it literally defines the requested materials by
       their confidential status.” Neither of those objections are valid reasons for refusing to
       produce these documents. Copies of non-disclosure or confidentiality agreements are
       not themselves confidential, nor could Spartan reasonably contend that such documents
       contain Spartan’s proprietary materials. In addition, Plaintiff initiated this lawsuit because,
       Spartan alleges, Mr. Purrington made false statements concerning the operation of
       Spartan’s Mosquito Eradicator product (the “Product”). Copies of non-disclosure or




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       confidentiality agreements to which researchers testing the Product were subject are
       discoverable because they may reveal whether individuals or institutions exist who have
       conducted scientific tests of the product, discovered it does not operate as intended, and
       are bound not to reveal that information pursuant to a confidentiality agreement. Please
       advise whether Spartan will produce those documents.

              Second, Spartan objected to Requests Nos. 5, 7, 8, 12, 15, and 25 as “too broad”
       and contends that those requests, as worded, would capture so many documents that it
       would “not be feasible” to identify and produce them. Such an objection does not comply
       with Plaintiff’s obligations under the Federal Rules of Civil Procedure. To sustain an
       objection of burden or overbreadth, a responding party must provide specific facts
       demonstrating why responding to the discovery would be burdensome or overly broad.
       McDevitt v. Verizon Servs. Corp., No. 14-cv-4125, 2016 WL 1072903, at *2 (E.D. Pa. Feb.
       22, 2016); see also Bolus v. Carnicella, No. 15-CV-01062, 2020 WL 930329, at *6 (M.D.
       Pa. Feb. 26, 2020). Merely asserting conclusory statements that the requests would
       encompass numerous documents does not suffice. Bolus, 2020 WL 930329, at *6.
       Accordingly, Spartan is obligated either to produce those documents or to provide
       detailed information concerning: the precise number of documents that would be
       responsive to these requests, how much it would cost to collect and produce those
       documents, and any other relevant information concerning the burden that Spartan
       asserts. Without waiving his objection to Spartan’s inadequate assertion of burden,
       Mr. Purrington addresses Spartan’s invitation to narrow each of these requests in turn.

               With respect to Request No. 5, which seeks documents concerning the operation
       of the Product, Mr. Purrington will agree that documents responsive to this request must
       fall within the following categories:

                   •   Testing and efficacy data (as suggested by Spartan in the Responses and
                       Objections);

                   •   All customer complaints and correspondence concerning the operation of
                       the Product;

                   •   All public statements made by Spartan, or any agent of Spartan, concerning
                       the operation of the Product;

                   •   A copy of each version of use instructions for the Product;




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       August 26, 2020
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                   •   All documents concerning the development and drafting of use instructions
                       for the Product.

             With respect to Request No. 7, which seeks internal Spartan correspondence
       concerning the operation of the Product, Mr. Purrington will agree that documents
       responsive to this request can be limited to the following categories:

                   •   Correspondence between Spartan employees that suggests, reflects, refers
                       to, or discusses any of the following: that the Product does not operate as
                       intended, that customers believe the Product does not operate as intended,
                       or that scientists or regulators do not believe that the Product operates as
                       intended;

                   •   Correspondence between Spartan employees that relates to Spartan’s
                       strategy for obtaining regulatory approval for the Product or whether the
                       Product fits within regulatory exemptions.

               Request No. 8 seeks discoverable information directly relevant to the matters at
       issue in this case, and Mr. Purrington will not agree to limit this request. Several of the
       statements that Spartan contends in its complaint were false and defamatory relate
       specifically to the regulatory compliance of the product. Accordingly, Mr. Purrington is
       entitled to obtain Spartan’s communications with state regulatory agencies, as those
       documents are directly related to the truth of the statements at issue in this litigation.
       Please advise whether Spartan will produce those documents.

              Request No. 12 seeks discoverable information also directly relevant to the matters
       at issue in this case, and Mr. Purrington will not agree to limit this request. Spartan alleges
       that Mr. Purrington made false and defamatory statements concerning the operation of
       the Product.       To the extent that Spartan’s distributors or suppliers have had
       correspondence with Spartan concerning the operation of the Product, it is relevant to
       whether the Product operates as intended. Please advise whether Spartan will produce
       those documents.

             With respect to Request No. 15, Mr. Purrington will agree to limit his request for
       correspondence between Spartan and ThinkWebstore concerning the marketing
       materials for the Product that fall within the following categories:

                   •   The correspondence mentions or relates to the operation of the Product;




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       August 26, 2020
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                   •   The correspondence mentions or relates to health claims about the Product
                       or alternatives to the Product, or that mentions or relates to mosquito-borne
                       illnesses;

                   •   The correspondence relates to the branding strategy for the Product.

              Spartan’s burden objection to Request No. 25 does not make sense in light of the
       wording of the request. This request seeks correspondence between Spartan and any
       individuals who received a complimentary Product from the Spartan in exchange for
       providing a review. Thus, the request does not encompass correspondence with
       individuals who received a complimentary Product as part of a philanthropic effort. Nor
       is it clear what possible private customer information might be included in
       communications with individuals who received a Product in exchange for a review.
       Finally, it is unclear how Mr. Purrington’s reviews of the Product have anything to do with
       this request, as Mr. Purrington never received a complimentary Product from Spartan.
       Accordingly, Mr. Purrington stands on Request No. 25 as drafted. Please advise whether
       Spartan will produce those documents.

              Third, Spartan asserted in response to Request No. 9 that it is searching for
       documents, but suggests that they do not exist because the Product is not registered with
       the EPA. For the avoidance of doubt, this request encompasses communications with
       the EPA concerning whether Spartan was required to register the Product with the EPA.
       Such documents plainly relate to the “regulatory compliance of the Product.” Please
       confirm that Spartan is searching for, and will produce in good faith, any correspondence
       between the EPA and Spartan concerning whether Spartan was required to register the
       Product.

               Fourth, Spartan’s response to Request No. 11 is concerning. As soon as Spartan
       contemplated filing a lawsuit against Mr. Purrington, its obligation to preserve documents
       arose. See, e.g., Orion Drilling Co. v. EQT Prod. Co., No. 16-CV-1516, 2018 WL
       4344980, at *3-4 (W.D. Pa. Sept. 11, 2018). If Spartan intentionally or in bad faith failed
       to preserve versions of its website that contained materials relevant to this dispute after
       it contemplated filing this suit, it could constitute spoliation. See id. Accordingly, please
       provide us with the date and manner in which Spartan placed a litigation hold on
       documents relevant to this litigation, so that we can determine if spoliation may have
       occurred. Please also confirm the sources of data that Spartan has searched for
       documents responsive to this Request, whether Spartan has searched for archived
       versions of its website, and that Spartan will produce any documents responsive to this
       Request that exist.


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       Evan L. Frank
       August 26, 2020
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              Fifth, in response to Requests Nos. 17-19, Spartan contends that it is not required
       to produce documents concerning a corporation that is not a party to this proceeding. But
       the fact that a corporate entity is not a party to a proceeding is not a reason to refuse to
       produce discoverable documents that are in Spartan’s possession, custody, or control.
       Please identify whether Spartan has any corporate relationship or common ownership
       with the InMoCo Corporation, and whether Spartan has documents concerning this
       corporation in its possession, custody, or control.

               With respect to Request No. 20, which seeks documents related to the West Nile
       Education, Eradication, Prevention and Recovery Organization. Mr. Purrington stands
       on this request. Again, the mere fact that a corporation is not a party to the proceedings
       is not a valid objection to producing otherwise discoverable documents. Nor does an
       entity need to be mentioned in the pleadings to make documents concerning that entity
       discoverable. Mr. Purrington understands that Spartan – or the owners of Spartan –
       established the West Nile Education, Eradication, Prevention, and Recovery Organization
       in response to criticism of the Product by one or more mosquito control organizations,
       and may be providing significant funding to the organization. Please advise if Spartan
       will produce documents responsive to this request.

              With respect to Request No. 27, Spartan’s objection is not responsive to the
       request. This request seeks any Facebook reviews or comments that were deleted,
       whether by Spartan itself or by anyone else, including someone acting on Spartan’s
       behalf. Please advise what efforts Spartan has undertaken to collect these documents
       and the basis for its assertion that it is not possible to recover such documents.

               Spartan’s objection to Request No. 28, which seeks communications with
       customers whose Facebook reviews and comments were deleted, also does not state a
       valid reason to refuse production of documents. As set forth above, Spartan is obligated
       to provide specific details to support an objection of burden or over-breadth, which it has
       failed to do in its response to this request. Nor does Spartan identify any actual
       confidential information that would justify withholding these documents. Accordingly, Mr.
       Purrington renews his request for production of these documents. Please advise if
       Spartan will produce documents responsive to this request.




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       Evan L. Frank
       August 26, 2020
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             Should you wish to discuss any of the above, please feel free to reach out to me.
       Mr. Purrington reserves the right to make additional and different objections to Spartan’s
       discovery responses once he receives the document production that Spartan has
       promised to make, as well as Spartan’s interrogatory responses.

                                                       Sincerely,

                                                       /s/ Paige M. Willan

                                                       Paige M. Willan

       PMW:pmw
       cc: Douglas F. Schleicher
           Alan L. Frank




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efrank@alflaw.net
Counsel for Plaintiff
                        UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
AC2T, Inc., d/b/a Spartan Mosquito,  :
                                     :   Civil Action
             Plaintiff,              :   Case No. 2:19-cv-05946-RBS
                                     :
             v.                      :
                                     :
Colin Purrington,                    :
                                     :
             Defendant.              :
____________________________________:

    PLAINTIFF’S RESPONSE TO DEFENDANT’S FIRST INTERROGATORIES

      1.        Identify all Persons employed by Spartan Mosquito, either as direct

employees or independent contractors, who have knowledge of Purrington’s comments

and postings.

      Answer: Jeremy Hirsch, Brett Conerly, Chris Spence. In addition, it is likely that

other employees have seen at least one of the Defendant’s posts because of the

Defendant’s high volume of posts targeted at Spartan across multiple social media

platforms.
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       2.     Identify all Persons who have knowledge of experiments concerning the

Product’s efficacy.

       Answer: Jeremy Hirsch, Chris Bonner, Michael Bonner.

       3.     Identify all Persons who have knowledge of experiments concerning the

Other Products’ efficacy.

       Answer: The Plaintiff objects because interrogatory 3 is exclusively targeted at

products that are not part of this lawsuit. The Plaintiff has alleged that the Defendant

has made defamatory statements about the Plaintiff and its product, the Spartan

Mosquito Eradicator. However, the Defendant defines “Other Products” as products

that are not the Eradicator, so this interrogatory is specifically about products that are

not the subject of this lawsuit or the defamatory posts.

       4.     Identify all Persons who have knowledge of Spartan Mosquito’s alleged

damages in the Litigation.

       Answer: Jeremy Hirsch, Chris Spence.

       6.     Identify all Persons who have knowledge of the matters alleged in the

Complaint.

       Answer:

       It is not feasible to list all people who have knowledge of the matters in the

Complaint because, as worded, this request would include anyone who read the




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Defendant’s social media posts, anyone who read the posts on the Defendant’s website,

and anyone with whom the Defendant directly communicated.

       However, the following people have knowledge of matters alleged in the

Complaint other than just reading the defamatory communications: Jeremy Hirsch,

Colin Purrington, Brett Conerly, Chris Spence, Chris Bonner, Michael Bonner.

       7.     Describe any lawsuits concerning the Product in the last five (5) years by

listing the court in which the lawsuit was filed, the docket number of the lawsuit, the

caption of the lawsuit, and the current status of the lawsuit.

       Answer:

              Court: Southern District of New York.

              Caption: Consolazio v. AC2T, Inc.

              Docket Number: 20-cv-3477.

              Status: Pending.

       8.     Describe any lawsuits concerning Spartan Mosquito in the last five (5)

years by listing the court in which the lawsuit was filed, the docket number of the

lawsuit, the caption of the lawsuit, and the current status of the lawsuit.

       Answer:

              Court: Southern District of New York.

              Caption: Consolazio v. AC2T, Inc.

              Docket Number: 20-cv-3477.



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              Status: Pending.

       9.     Identify all Persons who have knowledge of any lawsuits concerning the

Product in the last five (5) years.

       Answer: Jeremy Hirsch, Chris Spence, Michael Bonner, Chris Bonner.

       11.    Identify all Persons at the EPA and any State Regulatory Agency who

have knowledge of any health claims in the Product’s marketing materials.

       Answer: None – Spartan does not make health claims about the Eradicator.

                                              Respectfully submitted,



                                              _/s/ Evan L. Frank_______________
                                              Evan L. Frank, Esq.
                                              Alan L. Frank Law Associates, P.C.
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                                              215-935-1110 (fax)
                                              efrank@alflaw.net
                                              Counsel for Plaintiff
September 23, 2020




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                Exhibit 6
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From:                Willan, Paige <PWillan@klehr.com>
Sent:                Thursday, October 8, 2020 2:54 PM
To:                  Evan Frank
Subject:             FW: AC2T, Inc. v. Purrington - Purrington Discovery Requests


Evan,

I have not received a response to my email below, nor have we received Spartan’s responses to Interrogatories Nos. 5
and 10 or any documents.

Please advise.

Regards,

Paige


 PAIGE M. WILLAN
 PARTNER

                  KLEHR HARRISON HARVEY BRANZBURG LLP
                  1835 Market Street | Suite 1400 | Philadelphia, PA 19103
                  t 215.569.4283 | f 215.568.6603
                  pwillan@klehr.com | LinkedIn | Twitter


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intended recipient. Any review, reliance or distribution by others or forwarding without express permission is strictly
prohibited. If you are not the intended recipient, please contact the sender and delete all copies.




From: Willan, Paige
Sent: Thursday, October 1, 2020 2:54 PM
To: 'Evan Frank' <EFrank@alflaw.net>
Subject: AC2T, Inc. v. Purrington ‐ Purrington Discovery Requests

Evan,

I write to follow up on the meet and confer that we held yesterday concerning Spartan’s responses to our document
requests. I have noted where we have attempted to come to agreement and where we have not been able to
agree. Please respond to this email to confirm that you agree with what is written here, so that we can ensure that we
are on the same page. With respect to the interrogatory responses and the documents that you already have prepared
for production, please let me know when I can expect those materials.




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‐   Responses to Interrogatories Nos. 5 and 10: You informed me that you are working on obtaining the
    information requested in these interrogatories from your client and that you anticipate getting them to me
    shortly.

‐   Documents Spartan has agreed to produce: You told me that you have an initial production of documents
    prepared, and that we need to discuss the scope of other requests. I suggested that Spartan could begin its
    production of documents and produce documents on a rolling basis.

‐   Video: you informed me that Spartan has a long video, a portion of which is posted on its website, that allegedly
    shows mosquitos entering the holes on the product. I asked you for the link where this video is on the website,
    but I have not yet received that link. Spartan is willing to produce a portion of that video, but states that the
    entire video is too long and would be too expensive to produce. I stated that we are not willing to agree to
    accept only a portion of the video, that we do not believe that it would be too expensive to produce the video,
    and that it is our position that the entire video must be produced.

‐   Request No. 4: We discussed the non‐disclosure agreements that my client has requested be
    produced. Spartan is not willing to produce them.

‐   Request No. 5: We discussed the narrowing of this request that my client proposed. Spartan remains willing to
    produce testing and efficacy data, and you are going to confirm with your client whether they are willing to
    produce copies of any version of the use instructions for the product and documents concerning the
    development and drafting of those instructions. With respect to public statements, we agreed that Spartan
    would produce public statements other than statements made on social media, and that Spartan would confirm
    that they have not deleted any social media posts concerning the use of the product, that it would produce any
    posts that were deleted. We disagreed on customer complaints. Spartan maintains that there are “too many
    documents” to gather and produce. I suggested that, for this and other categories identified below, Spartan
    identify to us what custodians are most likely to have relevant documents and propose search terms that it will
    use to search for and produce documents responsive to this request. We would then respond to the proposed
    search terms and custodians and hopefully come to an agreement on which custodians and search terms that
    Spartan will use to identify documents responsive to these requests. I proposed that you provide the proposed
    custodians and search terms by close of business next Wednesday, October 7, and you agreed that was
    reasonable.

‐   Request No. 7: We discussed the narrowing of this request that my client proposed. I suggested that we apply
    the same custodian procedures as with respect to the customer complaints referenced in the comments for
    Request No. 5.

‐   Request No. 8: Spartan is not willing to produce these documents.

‐   Request Nos. 12 & 15: I suggested that we apply the same custodian procedures to these requests as with
    respect to customer complaints referenced in the comments for Request No. 5.

‐   Request No. 25: I clarified that we are only looking for documents relating to situations in which Spartan has
    explicitly either offered or been solicited by someone to provide that person with a free product in exchange for
    a review. I clarified that we are not looking for documents relating to philanthropic donations of products that
    might have resulted in a review of the product. With that clarification, I understand that Spartan’s objection to
    this request is resolved.

‐   Request No. 11: You told me that you would confirm the date on which Spartan implemented a litigation
    hold. You also confirmed that Spartan in fact has retained copies of the prior versions of its website. I informed
    you that we would like all copies of the prior versions, and are willing to limit the date range to from January 1,
    2019 through February 1, 2020. You stated that you believed that, even with that date range, the documents

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        would be too voluminous to produce, but agreed to confer with your client to determine if the limitation on the
        date range would resolve Spartan’s objection to this request.

    ‐   Request Nos. 17‐19: You agreed to check with your client and provide the information requested in my August
        26 letter, concerning whether Spartan has any corporate relationship or common ownership with the InMoCo
        corporation, so that we can determine whether we need to pursue these requests further.

    ‐   Request No. 20: You agreed to check with your client and provide me with information about whether Spartan,
        or its founders or principals, were involved in the creation and running of the organization referenced in this
        request, and whether Spartan has custody or control over any documents related to this organization, so that
        we can determine whether we need to pursue this request further.

    ‐   Requests Nos. 27‐28: We agreed that you would attempt to identify custodian(s) and search terms to identify
        documents responsive to these requests and propose them to me, in conformance with the procedure that we
        discussed for Request No. 5.


Regards,

Paige


 PAIGE M. WILLAN
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                Exhibit 7
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